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UNITED STATES DISTRICT COURT *HN §
SOUTHERN DISTRICT OF CALIFORNI N@Viz vU f

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UNITED sTATEs oF AMERICA, CASE No. 11CR485 - W-»-w ~i?§"if:§-L

 

Plaintiff,
vs. JUDGMENT OF DISMISSAL

ADRIAN TREJO-AHEDO (l),

Defendant.

 

 

IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

X an indictment has been filed in another case against the defendant and
the Court has granted the motion of the Government for dismissal of
this case, without prejudice; or

 

the Court has dismissed the case for unnecessary delay; or

the Court has granted the motion of the Government for dismissal,
without prejudice; or

the Court has granted the motion of the defendant for a judgment of
acquittal; or

a jury has been waived, and the Court has found the defendant not
guilty; Or

the jury has returned its verdict, finding the defendant not guilty;

X of the offense(s) as charged in the Information:

 

8:1326 (a) - Deborted Alien Found in the United States (Felonv).

 

IT IS THEREFORE ADJUDGED that t endant is he by discharg

  

DATED= 11/21/11 /

 

GORDON THOMPSON, JR.
UNITED STATES DIS'I‘RICT JUDGE

